Case 22-55595-jwc       Doc 49     Filed 12/02/22 Entered 12/02/22 14:11:10            Desc Main
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  IT IS ORDERED as set forth below:



   Date: December 2, 2022
                                                           _________________________________

                                                                    Jeffery W. Cavender
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________




                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

  IN RE:                                          CASE NO. 22-55595-JWC

  WYLLESHA CURRY,                                 CHAPTER 7


                     Debtor.

                                             ORDER

       Upon consideration of the Motion to Convert a Case Under Chapter 7 to a Case Under

Chapter 13 filed by Debtor on November 16, 2022 (Doc. No. 39), it is hereby ORDERED that the

motion is GRANTED and this case is hereby converted to a case under Chapter 13.

       The Clerk of Court is directed to serve a copy of this Order upon the Debtor, the Chapter

7 Trustee, the United States Trustee, and all parties on the mailing matrix.

                                      END OF DOCUMENT
